 

Case 7:14-cr-00236-CS Document 35 Filed 06/18/20 Page 1 of 3

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

  

 

 

 

 

 

 

 

MOTION TO DISMISS : |
JAA} dun Vezueu
THE PEOPLE OF THE UNITED STATES OF AMERICA “CHAMBERS OF —
Plaintiff CATHY SEIBEL
VS
Case 7:14-CR-00236-01
SILVIANO CHRISTMAN
Defendant

Motion to Dismiss
The defendant moves to dismiss this case against for the following reasons:
1. THE RESERVATION OF MY RIGHTS.
I explicitly reserve all my rights. UCC1-308, which was formerly UCC1-207
§1-308. Performance or acceptance under reservation of rights.
(a) A party that with explicit reservation of rights, performs or promises
performance for assents to performance in a manner demanded or offered by the
other party does not thereby prejudice the rights reserved. Such words as “without
prejudice,” “under protest,” or the like are sufficient

2. FURTHER ADVISEMENT

This is to advise that all of the actions of the court and all other in these cases
against defendant are in violation of ...

A. USC TITLE 18 > PART I > CHAPTER 13 > §242 Deprivation of rights under color
of law.

B. USC TITLE 18 > PART I > CHAPTER 13 > §241 Conspiracy against rights
WHEREFORE, Defendant prays for the foregoing speedy relief.
Kindest and warmest regards,

Signed
 

 

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UEC. In se Voce I-do7

  

Without prejudice UCC1-308
From the defendant: Silviano Christman

Physical address 161 West 15% Street Apt 31, New York NY 10011
Mailing address 161 West os sixeet Apt 31, New York NY 10011
Phone Number. 202-253-89037°

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Sub éribe an orn to me,a Notary Public, the above signed your name here

 
  

  
    

   

 

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een ERNEST O. OMOROGBE

Notary Public, State of New York
Registration #O10M6152449
Qualified In Suffolk County
Commission Expires Sept. 11. “Pax PUL

 

   

|.
This day of ET Oct 2019
Notary Public

 

My commission expires: 4 in Wr

 

 
 

 

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